Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 1 of 19 PageID: 1

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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

    ANTHONY CURKO individually, on behalf of himself
    and all others similarly situated,
                                                                 No:
                             Plaintiff,

             -against-
                                                                 CLASS ACTION
    G.A.J.S., INC. d/b/a RIVER PALM TERRACE and                  COMPLAINT
    JOHN CAMPBELL, individually,

                             Defendants.

        Plaintiff, Anthony Curko, (hereinafter, "Curko" or "Plaintiff'), individually and on behalf

of all others similarly situated, upon personal knowledge as to himself, and upon information and

belief as to other matters, alleges as follows:

                                   NATURE OF THE ACTION

        1.     This lawsuit seeks to recover minimum wages, overtime compensation, and

misappropriated gratuities under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (the

"FLSA"), the New Jersey Wage and Hour Law, N.J.S.A. 34:11-56a et seq. (the "NJWL"), and

New Jersey common law, for Plaintiff and his similarly situated co-workers - servers, bussers,

runners, bartenders, and other similarly situated tipped employees (collectively "Tipped

Employees") who work or have worked at the River Palm Terrace restaurant located at 1416 River

Road, Edgewater, New Jersey 07020 ("RPT").
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 2 of 19 PageID: 2




           2.      RPT is owned, operated, and controlled by G.A.J.S., Inc. and John Campbell

(collectively, "Defendants"). The RPT logo was trademarked by Defendant G.A.J.S., Inc. in 1998.

RPT was voted one of "America's 50 Best Steakhouses" in 2016. 1

           3.      At all times relevant, Defendants have paid Plaintiff and similarly situated Tipped

Employees at or below the applicable "tipped" minimum wage rate - less than the full minimum

wage rate for non-tipped employees.

           4.      However, Defendants have not satisfied the strict requirements under the FLSA or

the NJWL that would allow them to apply a "tip credit" to Tipped Employees' wages.

           5.      In that regard, Defendants misappropriated gratuities from Plaintiff and other

Tipped Employees by requiring them to engage in a tip distribution scheme where tips were shared

with employees in positions that are not entitled to tips under the FLSA and/or NJWL, including,

but not limited to, salad makers.

           6.      Individuals employed as salad makers are responsible for preparing salads and

similar dishes for servers to deliver to their respective customers. Salad makers have virtually no

customer interaction, do not take orders from customers, and do not serve and/or deliver orders to

customers. In addition, salad makers primarily remain in the kitchen, away from customer view to

perform their duties.

           7.      As a result, salad makers at RPT are not entitled to share tips under the FLSA or

NJWL.

           8.      Additionally, Defendants failed to provide Tipped Employees with notification of

the tipped minimum wage rate or tip credit provisions of the FLSA and/or the NJWL, or of their

intent to apply a tip credit to Tipped Employees' wages.



1
    https://www.thedailymeal.com/america-s-best-steakhouses

                                                       -2-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 3 of 19 PageID: 3




       9.         Plaintiff brings this action on behalf of himself and all similarly situated current

and former Tipped Employees pursuant who elect to opt-in to this action pursuant to the FLSA,

29 U.S.C. §§ 201 et seq., and specifically, the collective action provision of29 U.S.C. § 216(b), to

remedy violations of the wage-and-hour provisions of the FLSA by Defendants that have deprived

Plaintiff and other similarly situated employees of their lawfully earned wages.

        10.       Plaintiff also brings this action on behalf of himself and all other similarly situated

current and former Tipped Employees pursuant to Federal Rule of Civil Procedure 23 to remedy

violations of the NJWL, 34:11-56a et seq. and New Jersey common law.

THE PARTIES

Plaintiff

       Anthony Curko

        11.       Plaintiff is an adult individual who is a resident of Fairview, New Jersey.

        12.       Curko was employed by Defendants as a server at RPT from approximately March

27, 2016 through May 29, 2017.

        13.       Curko is a covered employee within the meaning of the FLSA and the NJWL.

        14.       A written consent form for Curko is being filed with this Complaint.

Defendants

        15.       Defendants have jointly employed Plaintiff and similarly situated employees at all

times relevant.

       16.        Each Defendant has substantial control over Plaintiffs and similarly situated

employees' working conditions, and over the unlawful policies and practices alleged herein.

       17.        During all relevant times, Defendants have been Plaintiffs employers within the

meaning of the FLSA and NJWL.



                                                   -3-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 4 of 19 PageID: 4




       G.A.J.S., Inc. d/b/a River Palm Terrace

       18.     G.A.J.S., Inc. is a domestic business corporation organized and existing under the

laws of New Jersey.

       19.     Upon information and belief, G.A.J.S., Inc.'s principal executive office is located

at 1416 River Road, Edgewater, New Jersey 07020, the same address as RPT.

       20.     G.A.J.S., Inc. identifies Defendant John Campbell as its Registered Agent.

       21.     G.A.J.S., Inc. is a covered employer within the meaning of the FLSA and NJWL,

and, at all times relevant, employed Plaintiff and similarly situated employees.

       22.     At all relevant times, G.A.J.S., Inc. has maintained control, oversight, and direction

over Plaintiff and similarly situated employees, including, but not limited to: hiring, firing,

disciplining, timekeeping, payroll, and other employment practices.

       23.     G.A.J.S., Inc. applies the same employment policies, practices, and procedures to

all Tipped Employees at RPT, including policies, practices, and procedures with respect to the

payment of minimum wage, overtime, and gratuities.

       24.     Upon information and belief, at all times relevant, G.A.J.S., Inc.'s annual gross

volume of sales made or business done was at least $500,000.00.

       John Campbell

       25.     Upon information and belief, Defendant John Campbell ("Campbell") is a resident

of the State of New Jersey.

       26.     At all relevant times, Campbell has been an owner and operator of RPT.

       27.     In that regard, Campbell is listed as the Registered Agent for G.A.J.S., Inc.




                                                -4-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 5 of 19 PageID: 5




          28.      Additionally, Campbell is listed as the Registrant and Administrator for the RPT

website. 2

          29.      Moreover, Campbell lists himself as a "Partner" of RPT on his personal Linkedln

page. 3

          30.      At all relevant times, Campbell has had power over personnel decisions at RPT,

including the power to hire and fire employees, set their wages, and otherwise control the terms

and conditions of their employment.

          31.      At all relevant times, Campbell has had power over payroll decisions at RPT,

including the power to retain time and/or wage records.

          32.      At all relevant times, Campbell has been actively involved in managing the day to

day operations of RPT.

          33.      At all relevant times, Campbell has had the power to stop any illegal pay practices

that harmed Plaintiff and similarly situated employees.

          34.      At all relevant times, Campbell has had the power to transfer the assets and/or

liabilities of RPT.

          35.      At all relevant times, Campbell has had the power to declare bankruptcy on behalf

ofRPT.

          36.      At all relevant times, Campbell has had the power to enter into contracts on behalf

ofRPT.

          37.      At all relevant times, Campbell has had the power to close, shut down, and/or sell

RPT.




2
    www.riverpalm.com
3
    https://www.linkedin.com/in/john-campbell-2730b517

                                                     -5-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 6 of 19 PageID: 6




        38.     Campbell is a covered employer within the meaning of the FLSA and the NYLL,

and at all relevant times, has employed and/or jointly employed Plaintiff and similarly situated

employees.

                                    JURISDICTION AND VENUE

        39.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337,

and jurisdiction over Plaintiffs state law claims pursuant to 28 U.S.C. § 1367.

        40.     This Court also has jurisdiction over Plaintiffs claims under the FLSA pursuant to

29 U.S.C. § 216(b).

        41.     Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(l)-

(2) because Defendants operate business within the district, Defendants are residents of the State

of New Jersey, and also because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

                           COLLECTIVE ACTION ALLEGATIONS

        42.     Plaintiff brings the First and Second Causes of Action, FLSA claims, on behalf of

himself and all similarly situated persons who have worked as Tipped Employees at RPT in New

Jersey who elect to opt-in to this action (the "FLSA Collective").

        43.     Defendants are liable under the FLSA for, inter alia, failing to properly compensate

Plaintiff and the FLSA Collective both minimum and overtime wages.

        44.     Consistent with Defendants' policy and pattern or practice, Plaintiff and the FLSA

Collective were not paid minimum wage rate for all hours worked up to 40 per workweek and

premium overtime compensation for all hours worked beyond 40 per workweek.




                                                -6-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 7 of 19 PageID: 7




       45.     All of the work that Plaintiff and the FLSA Collective have performed has been

assigned by Defendants, and/or Defendants have been aware of all of the work that Plaintiff and

the FLSA Collective have performed.

        46.    As part of its regular business practice, Defendants have intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to Plaintiff

and the FLSA Collective. This policy and pattern or practice includes, but is not limited to:

               (a)       willfully failing to pay its employees, including Plaintiff and
                         the FLSA Collective, minimum wages for all hours worked
                         and premium overtime wages for all hours worked in excess
                         of 40 hours per workweek; and

                      NEW JERSEY CLASS ACTION ALLEGATIONS

       47.     Plaintiff brings the Third and Fourth Causes of Action, NJWL claims, under Rule

23 of the Federal Rules of Civil Procedure, on behalf of himself and a class of persons consisting

of:

               All persons who have worked as Tipped Employees at RPT in New
               Jersey between February 1, 2017 and the date of final judgment in
               this matter (the "NJWL Class").

       48.     Plaintiff brings the Fifth and Sixth Causes of Action, New Jersey common law

claims, under Rule 23 of the Federal Rules of Civil Procedure, on behalf of himself and a class of

persons consisting of:

               All persons who have worked as Tipped Employees at RPT in New
               Jersey between February 1, 2013 and the date of the final judgment
               in this matter (the "NJ Common Law Class," together with the
               NJWL Class, the "NJ Classes").

       49.     The members of the NJ Classes (the "NJ Class Members") are so numerous that

joinder of all members is impracticable, and the disposition of their claims as a class will benefit

the parties and the Court.



                                                  -7-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 8 of 19 PageID: 8




       50.    There are more than fifty NJ Class Members.

       51.    Plaintiffs claims are typical of those claims that could be alleged by any NJ Class

Member, and the relief sought is typical of the relief which would be sought by each NJ Class

Member in separate actions.

       52.    Plaintiff and the NJ Class Members have all been injured in that they have been

uncompensated or under-compensated due to Defendants' common policies, practices, and

patterns of conduct. Defendants' corporate-wide policies and practices affected all NJ Class

Members similarly, and Defendants benefited from the same type of unfair and/or wrongful acts

as to each of the NJ Class Members.

       53.    Plaintiff is able to fairly and adequately protect the interests of the NJ Class

Members and has no interests antagonistic to the NJ Class Members.

       54.    Plaintiff is represented by attorneys who are experienced and competent in both

class action litigation and employment litigation and have previously represented many plaintiffs

and classes in wage and hour cases.

       55.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy - particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute their common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender.

       56.    Common questions of law and fact exist as to the NJWL Class that predominate

over any questions only affecting Plaintiff and the members of the NJWL Class individually and



                                              -8-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 9 of 19 PageID: 9




include, but are not limited to, the following:

                 (a)    whether Defendants unlawfully failed to pay proper minimum wage
                        compensation in violation of N.J.S.A. §§ 34:11-56a et seq., and
                        supporting New Jersey State Department of Labor and Workforce
                        Development Regulations; and

                (b)     whether Defendants unlawfully failed to pay proper overtime
                        compensation in violation of N.J.S.A. §§ 34:l 1-56a et seq., and
                        supporting New Jersey State Department of Labor and Workforce
                        Development Regulations.

        57.     Common questions of law and fact exist as to the NJ Common Law Class that

predominate over any questions only affecting Plaintiff and the members of the NJ Common Law

Class individually and include, but are not limited to, the following:

                (a)     whether Defendants were unjustly enriched by unlawfully requiring
                        Plaintiff and members of the NJ Common Law Class to provide tip-
                        ineligible employees at RPT with a portion of their lawfully earned
                        gratuities; and

                (b)     whether Defendants wrongfully exercised control over Plaintiffs
                        and members of the NJ Common Law Class's property, i.e. their
                        lawfully earned gratuities, in violation of their rights over the
                        property.

                          PLAINTIFF'S FACTUAL ALLEGATIONS

        58.     Consistent with their policies and practices as described herein, Defendants harmed

Plaintiff, individually, as follows:

              Anthony Curko

        59.     During his employment, Curko generally worked the following scheduled hours,

unless he missed time for vacation, sick days, and/or holidays: approximately 7 shifts per week,

consisting of a combination of lunch and dinner shifts, and some double shifts. Curko's hours at

RPT ranged from 30 to 55 hours per workweek.




                                                  -9-
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 10 of 19 PageID: 10




        60.     Throughout his employment, Defendants applied a tip credit towards the minimum

wage rate paid to Curko for work performed as a server. Defendants failed to notify Curko either

verbally or in writing of the tip credit provisions of the FLSA or NJWL, or of their intent to apply

a tip credit to his wages.

        61.     Defendants unlawfully required Curko to share tips with employees not entitled to

tips under the FLSA and/or the NJWL, including, but not limited to, salad makers. In that regard,

Curko was required to tip out approximately $5 .00 per shift to salad makers.

        62.     Salad makers' primary responsibility is to prepare salads for orders. Salad makers

do not deliver salads to the tables. In fact, they are stationed in the kitchen, out of the view of

customers. Thus, they have little to no customer interaction.

        63.     As a result of the above, Defendants did not satisfy the requirements under the

FLSA and NJWL, by which they could apply a tip credit towards his minimum wages owed, and

Defendants failed to compensate him at the proper minimum wage.

        64.     Defendants suffered or permitted Curko to work over 40 hours per week as a server.

During such workweeks Curko was entitled to receive the full statutory minimum wage rate for

the first 40 hours of work each week, and 1.5 the full statutory minimum wage rate for each hour

over 40 worked in any given workweek.

        65.     Defendants did not provide Curko with 1.5 the full statutory minimum wage rate

for each hour worked over 40 in a given workweek.




                                               - 10 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 11 of 19 PageID: 11




                                FIRST CAUSE OF ACTION
                        Fair Labor Standards Act - Minimum Wage
                   (Brought on behalf of Plaintiff and the FLSA Collective)

       66.     Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       67.     At all times relevant, Plaintiff and the FLSA Collective were employed by an entity

engaged in commerce and/or the production or sale of goods for commerce within the meaning of

29 U.S.C. §§ 201 et seq., and/or they have been engaged in commerce and/or the production or sale of

goods for commerce within the meaning of29 U.S.C. §§ 201 et seq.

       68.     At all times relevant, Defendants have been required to pay directly to Plaintiff and

the FLSA Collective the full minimum wage rate for all hours worked.

       69.     Defendants have not been eligible to avail themselves of the federal tipped

minimum wage rate under the FLSA, 29 U.S.C. §§ 201 et seq., because Defendants have failed to

inform Plaintiff and the FLSA Collective of the provisions of subsection 203(m) of the FLSA.

       70.     Defendants have not been eligible to avail themselves of the federal tipped

minimum wage rate under the FLSA, 29 U.S.C. §§ 201 et seq., because Defendants required

Plaintiff and the FLSA Collective to distribute a portion of their tips to workers who do not

"customarily and regularly" receive tips.

       71.     As a result of Defendants' willful violations of the FLSA, Plaintiff and the FLSA

Collective have suffered damages by being denied minimum wages in accordance with the FLSA

in amounts to be determined at trial, and are entitled to recovery of such amounts, liquidated

damages, attorneys' fees and costs, and other compensation pursuant to 29 U.S.C. §§ 201 et seq.




                                               - 11 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 12 of 19 PageID: 12




                             SECOND CAUSE OF ACTION
                       Fair Labor Standards Act- Overtime Wages
                  (Brought on behalf of Plaintiff and the FLSA Collective)

       72.     Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       73.     The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201 et seq., and

the supporting federal regulations, apply to Defendants and protect Plaintiff and the FLSA

Collective.

       74.     Defendants failed to pay Plaintiff and the FLSA Collective the premium overtime

wages to which they were entitled under the FLSA - at a rate of 1.5 times the full minimum wage

rate - for all hours worked beyond 40 per workweek.

       75.    As a result of Defendants' willful violations of the FLSA, Plaintiff and the FLSA

Collective have suffered damaged by being deprived overtime compensation in amounts to be

determined at trial, and are entitled to recovery of such amounts, liquidated damages, attorneys'

fees and costs, and other compensation pursuant to 29 U.S.C. § 201 et seq.

                              THIRD CAUSE OF ACTION
                    New Jersey Wage and Hour Law - Minimum Wage
                    (Brought on behalf of Plaintiff and the NJWL Class)

       76.    Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       77.    Defendants have engaged in a widespread pattern, policy, and practice of violating

the NJWL.

       78.    At all times relevant, Plaintiff and the NJWL Class have been employees and

Defendants have been employers within the meaning of the N.J.S.A. § 34:11-56a, et seq. and the

supporting New Jersey Department of Labor and Workforce Development Regulations.



                                             - 12 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 13 of 19 PageID: 13




        79.    Defendants have failed to pay Plaintiff and the NJWL Class the minimum hourly

wages to which they are entitled under the NJWL and the supporting New Jersey Department of

Labor and Workforce Development Regulations.

       80.     Defendants required Plaintiff and the NJWL Class to share gratuities with

employees who are not eligible to receive tips under the NJWL and the supporting New Jersey

Department of Labor and Workforce Development Regulations. As a result, Plaintiff and the

NJWL Class have been entitled to the full minimum wage rate rather than the reduced tipped

minimum wage rate at all relevant times.

       81.     Defendants failed to properly notify Plaintiff and the NJWL Class of the tip credit

provisions of the NJWL or of their intent to apply a tip credit to their wages.

       82.     Defendants were required to pay Plaintiff and the NJWL Class a minimum wage

at: 1) a rate of $8.44 for all hours worked on or after January 1, 2017; 2) at a rate of $8.60 an hour

for all hours worked on or after January 1, 2018; and 3) at a rate of $8.85 an hour for all hours

worked on or after January 1, 2019 under N.J.S.A. § 34:11-56a, et seq. and the supporting New

Jersey Department of Labor and Workforce Development Regulations.

       83.     By Defendants' knowing or intentional failure to pay Plaintiff and the NJWL Class

minimum hourly wages, they have willfully violated N.J.S.A. § 34:11-56a, et seq. and the

supporting New Jersey Department of Labor and Workforce Development Regulations.

       84.     Due to Defendants' violations of the NJWL, Plaintiff and the NJWL Class are

entitled to recover from Defendants their unpaid minimum wages, liquidated damages, reasonable

attorneys' fees and costs, and pre-judgment and post-judgment interest.




                                                - 13 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 14 of 19 PageID: 14




                             FOURTH CAUSE OF ACTION
                     New Jersey Wage and Hour Law - Overtime Wage
                    (Brought on behalf of Plaintiff and the NJWL Class)

        85.    Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

        86.    The overtime wage provisions ofN.J.S.A. § 34: 11-56a, et seq. and the supporting

New Jersey Department of Labor and Workforce Development Regulations apply to Defendants

and protect Plaintiff and the NJWL Class.

        87.    Defendants have failed to pay Plaintiff and the NJWL Class the overtime wages to

which they are entitled under the N.J.S .A. § 34:11-56a, et seq. and the supporting New Jersey

Department of Labor and Workforce Development Regulations - at a rate of 1.5 times the full

minimum wage rate - for all hours worked beyond 40 per workweek.

        88 .   By Defendants' knowing or intentional failure to pay Plaintiff and the NJWL Class

Members overtime wages for hours worked in excess of 40 hours per week, they have willfully

violated N.J.S.A. § 34:11-56a4, et seq. and the supporting New Jersey Department of Labor and

Workforce Development Regulations.

        89.    Due to Defendants' violations of the NJWL, Plaintiff and the NJWL Class

Members are entitled to recover from Defendants their unpaid overtime wages, liquidated

damages, reasonable attorneys' fees and costs of the action, and pre-judgment and post~udgment

interest.




                                             - 14 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 15 of 19 PageID: 15




                              FIFTH CAUSE OF ACTION
                      New Jersey Common Law - Unjust Enrichment
               (Brought on behalf of Plaintiff and the NJ Common Law Class)

       90.     Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       91.     Plaintiff and the NJ Common Law Class worked for Defendants under the promise

and expectation that they would receive the tips they earned based on their customer interaction.

       92.     Defendants accepted their services and received the benefit of Plaintiff and the NJ

Common Law Class Members working at their places of employment.

       93.     Defendants required Plaintiff and the NJ Common Law Class to distribute a portion

of their tips to employees who do not customarily or regularly receive tips, including, but not

limited to, salad workers.

       94.     Allowing Defendants to use the tips misappropriated from Plaintiff and the NJ

Common Law Class for their benefit, would be inequitable and in contrast to well-established

common law principles.

       95.     Accordingly, Plaintiff and the members of the NJ Common Law Class are entitled

to recover from Defendants the amount of the gratuities earned that they were required to give the

tip-ineligible employees, as may be determined at trial, actual damages, and such other relief as

this Court shall deem just and proper.




                                              - 15 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 16 of 19 PageID: 16




                                   SIXTH CAUSE OF ACTION
                             New Jersey Common Law-Conversion
               (Brought on behalf of Plaintiff and the NJ Common Law Class)

        96.    Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

        97.    Plaintiff and the NJ Common Law Class worked for Defendants under the promise

and expectation that they would receive the tips they earned based on their customer interaction.

        98 .   Upon legally earning their tips, Plaintiff and the NJ Common Law Class had the

right to possession of such property.

        99.    Defendants wrongfully interfered with the Plaintiff's and NJ Common Law Class's

rights to their legally earned tips by requiring them to give a portion of their tips to employees who

do not customarily or regularly receive tips, including, but not limited to, salad workers.

        100.   Allowing Defendants to interfere with the tips earned by Plaintiff and the NJ

Common Law Class, would be inequitable and in contrast to well-established common law

principles.

        101.   Accordingly, Plaintiff and the members of the NJ Common Law Class are entitled

to recover from Defendants the amount of the gratuities earned that they were required to give the

tip-ineligible employees, as may be determined at trial, actual damages, and such other relief as

this Court shall deem just and proper.




                                                - 16 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 17 of 19 PageID: 17




                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of all other similarly situated

persons, seeks for the following relief:

          A.     That, at the earliest possible time, Plaintiff be allowed to give notice of this

collective action, or that the Court issue such notice, to all Tipped Employees who are presently

working at, or who have worked at any time during the three years immediately preceding the filing

of this suit, up through and including the date of this Court's issuance of court-supervised notice, at

River Palm Terrace in Edgewater, New Jersey. Such notice shall inform them that this civil action has

been filed, of the nature of the action, and of their right to join this lawsuit if they believe they were

denied proper wages;

          B.    Unpaid minimum wages, overtime wages, and an additional and equal amount as

liquidated damages pursuant to the FLSA and the supporting United States Department of Labor

regulations;

          C.    Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure;

          D.    Designation of Plaintiff as representative of the NJ Classes and counsel of record

as Class Counsel;

          E.    Unpaid minimum wages, overtime wages, and an additional and equal amount as

liquidated damages pursuant to N.J.S.A. § 34:11-56a, et seq., and the supporting New Jersey

Department of Labor and Workforce Development Regulations;

          F.    The amount of tips Defendants required Plaintiff and the NJ Common Law Class

to provide to tip-ineligible employees, actual damages, as may be allowed under the laws of New

Jersey;



                                                 - 17 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 18 of 19 PageID: 18




      G.    Pre-judgment interest and post-judgment interest;

      H.    Reasonable attorneys' fees and costs of the action; and

      I.    Such other relief as this Court shall deem just and proper.



Dated: New York, New York
       February 1, 2019

                                          Respectfully submitted,




                                          FITAPELLI & SCHAFFER, LLP
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                                          Brian S. Schaffer [Pro Hae Vice Forthcoming]
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                                          Attorneys for Plaintiff and
                                          the Putative Class




                                           - 18 -
Case 2:19-cv-04426-WJM-MF Document 1 Filed 02/01/19 Page 19 of 19 PageID: 19




                        FAIR LABOR STANDARDS ACT CONSENT

        1.     I consent to be a party plaintiff in a lawsuit against RIVER PALM TERRACE
and/or related entities and individuals in order to seek redress for violations of the Fair Labor
Standards Act, pursuant to 29 U.S.C. § 216(b).

         2.      By signing and returning this consent form, I hereby designate FITAPELLI &
SCHAFFER, LLP ("the Firm") to represent me and make decisions on my behalf concerning the
litigation and any settlement. I understand that reasonable costs expended on my behalf will be
deducted from any settlement or judgment amount on a pro rata basis among all other plaintiffs.
I understand that the Firm will petition the Court for attorney's fees from any settlement or
judgment in the amount of the greater of: (1) the "lodestar" amount, calculated by multiplying
reasonable hourly rates by the number of hours expended on the lawsuit, or (2) 1/3 of the gross
settlement or judgment amount. I agree to be bound by any adjudication of this action by a
court, :wp.ether it is favorable or unfavorable.
